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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF UTAH CENTRAL DIVISION


    OWNER-OPERATOR INDEPENDENT                                MEMORANDUM DECISION AND
    DRIVERS ASSOCIATION, INC., et al.,                           ORDER REGARDING
                                                                MOTION FOR AWARD OF
                      Plaintiffs,                              PREJUDGMENT INTEREST
             vs.
                                                                        Case No. 2:02 CV 950 TS
    C. R. ENGLAND, INC.,
                                                                    District Judge Ted Stewart
                      Defendant.                                   Magistrate Judge David Nuffer

           In the October 24, 2008 Order on Finalization of the Accounting of Escrow Accounts, the

district judge ordered that restitution awards to individual Plaintiffs and Class Members should

be paid “along with payment of reasonable interest.” 1 Plaintiff’s Motion for Award of

Prejudgment Interest 2 raises the issue of the appropriate interest rate.

           This dispute arises out of Plaintiffs’ allegations that Defendant improperly administered

escrow funds established under lease agreements (Independent Contractor Operating Agreement

or ICOA) whereby Plaintiffs leased their trucks to Defendant for use in Defendant’s trucking

business. Plaintiffs successfully claimed 3 that Defendant’s actions violated the federal Truth-in-

Leasing Regulations. 4

                                                 Summary of Positions

           Plaintiffs argue that Utah’s statutory legal interest rate of 10% should be imposed, 5 while

Defendant argues that the Treasury bill rate should apply because of a federal regulation


1
    Docket no. 358, at 6.
2
    Docket no. 371, filed January 30, 2009.
3
    Docket No. 299, ¶ 47, filed June 20, 2007.
4
    49 C.F.R. Part 376.
5
 Plaintiff’s Memorandum in Support of Motion for Award of Prejudgment Interest (Memorandum in Support),
docket no. 372, filed January 30, 2009.
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governing the lease escrow funds which are being accounted in this case. 6 Defendant argues the

Utah contract rate cannot apply because (a) the ICOA specifies an interest rate, making the Utah

statute inapplicable; 7 (b) the case is not a contract case, but a case alleging federal regulatory

violations; 8 and (c) choice of law language in the ICOA does not invoke the Utah interest statute

because Plaintiffs’ claims are not made under the ICOA, but under regulations. 9

                            Contractual, Statutory and Regulatory Provisions

            The Utah statute reads: “Unless parties to a lawful contract specify a different rate of

interest, the legal rate of interest for the loan or forbearance of any money, goods, or chose in

action shall be 10% per annum.” 10

            The federal regulation on lease escrow funds, applicable to the relationship between these

parties, reads:

            [W]hile the escrow fund is under the control of the carrier, the carrier shall pay
            interest on the escrow fund on at least a quarterly basis. For purposes of
            calculating the balance of the escrow fund on which interest must be paid, the
            carrier may deduct a sum equal to the average advance made to the individual
            lessor during the period of time for which interest is paid. The interest rate shall
            be established on the date the interest period begins and shall be at least equal to
            the average yield or equivalent coupon issue yield on 91-day, 13-week Treasury
            bills as established in the weekly auction by the Department of Treasury. 11

This regulatory provision is made specifically applicable to the escrow balance by the lease form

in use between Plaintiffs and Defendants. The contract establishes a Maintenance Escrow on

which interest will be “paid quarterly based on the interest rate on the 1st day of each quarter



6
 Defendant C. R. England’s Memorandum in Opposition to Motion for Pre-Judgment Interest (Memorandum in
Opposition) at 2-3, docket no. 375, filed February 17, 2009.
7
    Id. at 3-4.
8
    Id. at 4-5.
9
    Id. at 5-6.
10
     Utah Code Ann. § 15-1-1(2) (Supp.1990).
11
     49 C.F.R. § 376.12(k)(5).



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determined by the current average yield or equivalent upon issue yield on 91 day, 13 week

treasury bills as established in the preceding weekly auction by the U.S. Department of

Treasury.” 12

            The contract further provides that funds in the escrow will be paid out within 45 days of

termination of a lease relationship. “Upon the termination of the Agreement WE shall pay YOU

the balance in the Escrow fund less any appropriate offsets within 45 days.” 13

            Another provision of the agreement (briefed only incidentally on this motion) governs

interest accruing on any amount due between the parties:

            The undersigned 14 agrees that in the event of default in the payment of any
            amount due and if this account is placed in the hands of an agency or attorney for
            collections or legal action, to pay the cost of collection, attorney fees and court
            costs incurred and permitted by law governing these transactions. A finance
            charge of 1 ½ % per month (18% annually) will be charged on balances over 30
            days past due.” 15

                                               Discussion

            The practices of the Defendant have been held to violate the Truth-in-Leasing

regulations. The relationship of the parties was contractual, based on the ICOA. The

result of the Truth-in-Leasing violations is to make sums due to these parties whose

relationship is founded in contract. Without a contract, there would be no relationship to

which the Truth-in-Leasing regulations would apply. It therefore seems to the magistrate

judge that:


12
 Addendum 2 to Independent Contractor Operating Agreement at 2, attached as Exhibit A to Plaintiffs’ Reply to
Defendant’s Opposition to Motion for Award of Prejudgment Interest, docket no. 382, filed February 27, 2009.
13
     Id. at 3.
14
  This is the only instance of the use of the word “undersigned” the magistrate judge has found in the ICOA.
Otherwise, the words “YOU” and “WE” (and at times, “YOU and WE”) are used to designate the respective parties.
The ICOA concludes that “YOU and WE are both bound by this Agreement” and “YOU and WE have executed this
Agreement . . . .”
15
     Independent Contractor Operating Agreement at 4.



                                                        3
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       a. The regulatory interest rate, restated in the contract, applies to balances held
          on deposit in the escrow, but

       b. After sums under the ICOA are due and payable, the applicable rate is 1½ per
          cent per month, or 18 percent per annum; and

       c. The Utah statutory rate does not apply because the contract in this case
          provides for interest rates, one to apply to entrusted funds and the other to
          apply to sums in default.

       Because the applicability of the contractual section applying an interest rate to

funds in default was not briefed directly by either party,

       IT IS HEREBY ORDERED that each party may submit supplemental argument

of not more than five pages on or before May 11, 2009.

       Dated this 4th day of May, 2009.


                                                      BY THE COURT:




                                                      ___________________________________
                                                      David Nuffer
                                                      United States Magistrate Judge




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